IN THE 16TH JUDICIAL CIRCUIT, JACKSON COUNTY, MISSOLiRxi — FILED

|
Judge or Division: 29 Case Number: DIVISION 22
KC23002048 19-Jan-2023 15:27

Name and Title of Person Making Application:

Detective Michael Wells #4860 CIRCUIT COURT OF JACKSON COUNTY, MO

I

Application for Search Warrant

lama peace officer (] prosecuting attorney.
lam submitting this application by [[] hard-copy [_] facsimile other electronic means: email

Being duly sworn and pursuant to Section 542.276 RSMo, | state upon information and belief the following:

Describe facts and/or attach affidavit showing probable cause.

On 01/10/2023, detectives with the Missouri Western Interdiction and Narcotics (MOWIN) Task Force were conducting
surveillance in the area of 4801 Independence Avenue, Kansas City, Jackson County, MO. Johnson A MANGOL, black
male, SM, was reportedly selling fentanyl! from his apartment. MANGOL had a listed address of 4801
Independence Avenue, apariment 2E, Kansas City, MO, The address was listed for MANGOL with the MO Department
of Revenue, as well as numerous police reports.

At approximately 1145 hours, MANGOL was observed exiting the door that lead to his apartment. He walked south
through the rear parking lot, across the alley and through a vacant residential lot to 6th Street. Once on 6th Street he
entered the front passenger door of a small grey sedan occupied by a white female driver. Both MANGOL and the white
female remained in the car, parked at the curb, for approximately 5 minutes.

A grey Honda Civic, with KS licens@ENF arrived on 6th Street and parked behind the vehicle MANGOL was in.
MANGOL exited the car he was in and acknowledged the driver of the Civic with a hand gesture. He then walked back
through the vacant lot and alley to his apartment. He entered the common door leading to his apartment.

The driver of the Civic drove around the block and pulled into the rear parking lot of MANGOL's apartment, MANGOL
stayed inside of his apartment for approximately five minutes. When he returned outside he motioned for the Honda
driver to drive back over to 6th Street. MANGOL walked back through the alley and vacant lot to get to 6th Street. Once
on 6th Sireet, he made contact with the unknown occupant of a black Audi that had also arrived and parked at the curb.
The Audi had dark tinted windows and an AZ license off. MANGOL entered the front passenger seat of the
Audi. He was only inside for approximately thirty seconds before exiting. The driver of the Audi left the area. MANGOL
then got into the front passenger seat of the Honda Civic. He was inside of the Honda for no more than one minute
before he exited. The Honda driver drove away eastbound, MANGOL then entered the front passenger seat of the
small grey car he had originally been In.

lt appeared MANGOL was conducting hand-to-hand drug transactions. MANGOL was not conducting any of the
meetings at his apartment or in the lot. He was having people meet him on 6th Street, which was consistent with trying
to prevent people in his apartment building from seeing the illegal activity he was engaged in. Detectives had uniformed
officers move into the area and stop the driver of the Honda to investigate the suspicious narcotic activity.

Officers were able to locate and stop the Honda Civic near Independence Avenue and Denver, Kansas City, Jackson
County, MO. The driver, and sole occupant of the Honda, was identified as qx . While the officers
were speaking with ::) observed plain view narcotics contraband protruding from the right pocket of his
sweatpants. The officers removed the contraband from his pocket and discovered a substance that appeared to be a
crushed white pill, wrapped in aluminum foil. This was consistent with fentanyl, which is what MANGOL was suspected
of selling.

The substance, weighing approximately 2 grams, was tested with a mass spectrometer. |t was confirmed to contain
fentanyl.

Members of the MOWIN Task Force conducted surveillance at 4801 Independece Avenue on numerous occasions in
December of 2022 and January of 2023. Based on my experience, including twelve years investigating drug crimes,
MANGOL was observed engaging in a pattern of drug trafficking from his apartment. His pattern was to have people

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meet him on 6"" Street. Once the customer arrived, and parked on 6" Street, MANGOL would exit his apartment with

the drugs. He walked through an alleyway and contacted the customer on 6" Street. He usually entered the front
passenger seat of the customer's vehicle and exited a brief momentlater. The customer would drive away from the area
and MANGOL would return to his apartment. This pattern was observed most recently on the afternnon of 01/17/2023,
MANGOL met with a white female in a small grey sedan, parked on 6" Street. The meeting was only a few minutes long
and was consistent with a hand-to-hand drug transaction. Once the contact was complete, MANGOL immediately
returned to his apartment. Based on my observations and my experience, | believe MANGOL has fentanyl pills as well
as US currency from trafficking fentanyl in his apartment at 4801 Independence Avenue, Kansas Cily, Jackson County,
MO.

Johnson MANGOL is currently on probation in the State of MO for tampering with a motor vehicle and damaging jail
property. He is out on bond in Jackson County for two counts of possession of a controlled substance. He was arrested
on 07/09/2020, in possession of 143 alprazolarn pills and 3 capsules of MDMA,

MANGOL's apartment is on the second floor of 4801 Independence Avenue. The bottom floor is encompassed by a
cellphone store and.a smoke shop business. There are two apartments located on the second floor, On the rear, south
facing side, of the building are three exterior doors at ground level. The western most door is the door that leads to the
second floor apartments. Kansas City MO Police Officers have been inside of MANGOL's apartment on numerous
occasions over the last few months. Watching the officers’ body camera footage from those calls | was able to see
clearly how to get to MANGOL's apartment from the rear common entry door. Once you enter the western most door
you have to turn right and go up a flight of stairs. At the top of the stairs is a small common area containing a washer
and dryer. There is a south facing door and an east facing door within the common area. The south facing door is the
door to MANGOL's apartment. There are no visible numbers on the two apartment doors.

Affidavit(s) attached  [_] Yes DX] No

Describe in detail the person, place, or thing to be searched.

An apartment inside of 4801 Independence Avenue, Kansas City, Jackson County, MO. Itis a two story brick structure
with businesses on the first floor and apartments on the second floor. Access to the apartment to be searched is gained
by responding to the rear, south side of the building, entering the western most south facing door, ascending the
stairwell to the second floor, immediately turn left at the tap of the stairwell and enter the south facing door,

Property ta be seized. [Describe in detail the property, article, material, substance, or person to be searched for and seized.]
Fentanyl, a schedule || controlled substance

Drug paraphernalia and packaging

Proof of occupancy

US currency is close proximity of illegal narcotics

Based on this information, | request that the court issue a Search Warrant as provided by law.

/s/Det Michael Wells #4860

Applicant
Subscribed and sworn to before me on this 1/19/2023
Date
(Seal)
(@erSon Authorized to Administer Oaths
19-Jan-2023 3:36 pm O am CPM is/Kristiane Bryant #69524
Date and Time of Application Prosecuting Attorney
Jackson County, MO
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| FILED
IN THE 16TH JUDICIAL CIRCUIT, JACKSON COUNTY, MISSDURI DIVISION 29

19-Jan-2023 15:37
CIRCUIT COURT OF JACKSON COUNTY, MIO

Judge or Division: 99 Case Number:
KC23002048

|
Name and Title of Person Making Application:
Detective Michael Wells #4860

BY Dyvsses fooSa— pea. |

(Date File Stamp)

Search Warrant

State of Missouri to any Peace Officer in Missouri:

Based on information provided in a verified application/affidavit, the court finds probable cause to issue a search
warrant as authorized by section 542,271, RSMo.

Therefore, you are commanded to search the following person, place or thing: [Describe with specificity the person,
place or thing to be searched that is supported by probable cause in the verified application/affidavit and authorized
by section 542.277, RSMo.]

An apartment inside of 4801 Independence Avenue, Kansas City, Jackson County, MO, It is a two story brick
structure with businesses on the first floor and apartments on the second floor. Access to the apartment to be
searched is gained by responding to the rear, south side of the building, entering the western most south facing
door, ascending the stairwell to the second floor, immediately turn left at the top of the stairwell and enter the
south facing door,

You are commanded to search for and seize, or photograph, copy or record the following property, article, material,
substance or person: [Describe with specificity the item(s) that is/are supported by probable cause in the verified
application/affidavit and authorized by section 542.271, RSMo,]

Fentanyl, a schedule I controlled substance
Drug paraphernalia and packaging

Proof of occupancy

US currency is close proximity of illegal narcotics

This search warrant shall be executed as soon as practicable and shall expire if not exectited within 10 days after
the date of the making of the application.

19-Jan-2023 3:37 pm Spy.

Date and Time Cc” Judge

This warrant is issued by: [] hard-copy [_] facsimile [XJ other electronic means: email.

Directions to Officer: Make a complete and accurate written inventory of any property seized pursuant to this warrant. When
possible, complete the inventory in the presence of the person from whose possession this property is taken, and give a receipt for
the property, as well as a copy of this warrant to that person. If no person is found in possession of the property, leave the receipt
and warrant copy in the premises searched. Immediately deliver the written Inventory and the warrant return to this court. You may
file with this court photographs or copies of items seized.

Officer's Return
| certify that | am a peace officer within the State of Missouri and executed the above search warrant as follows:

Date and manner of execution: oilau|z023 Tawrtel Truna serves’ iiclerce

Name of possessor (and owner if known and if not the same) of property:

A property receipt and a warrant copy were left ‘a with possessor [_] in the premises

The Inventory receipt is attached to this return LlYes [ALNo

Property seized (general description): tarnal Pe Fin prarnalica, Fitparens Avian hn
Attached to this return are: [1] photograph(s) [J copy/copies of items We CJ inventory
A n :
Older why >
Date Signature of Officer Making Return
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